         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 3:06CR415


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                 VS.                     )          ORDER
                                         )
                                         )
TAMARA VARNADO                           )
                                         )


     THIS MATTER is before the Court on the Government’s motion to

correct a clerical error in the Defendant’s Judgment pursuant to Fed. R.

Crim. P. 36. The Court has been advised that the Defendant does not

oppose the relief sought nor does she wish to file a formal response.

     For the reasons stated in the Government’s motion and it appearing a

clerical error has been made in the restitution amount shown on the

Defendant’s Judgment,

     IT IS, THEREFORE, ORDERED that the Clerk prepare an amended

Judgment in a Criminal Case for this Defendant by changing the amount of

restitution shown on Page 4 of such Judgment to show the correct total




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amount of restitution to be $1,208,256.53, as is reflected on Page 5A of

this Judgment.

                                     Signed: December 9, 2008




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